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   16

   17
                               UNITED STATES DISTRICT COURT
   18
                             CENTRAL DISTRICT OF CALIFORNIA
   19

   20   IN RE: NATIONAL FOOTBALL                         Case No.: 2:15-ml-02668−PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   21   ANTITRUST LITIGATION
   22                                                    JOINT STIPULATION TO
                                                         SUPPLEMENT THE TRIAL
   23                                                    RECORD WITH PLAYED
                                                         DEPOSITION DESIGNATIONS
   24
        THIS DOCUMENT RELATES TO ALL                     JUDGE: Hon. Philip S. Gutierrez
   25   ACTIONS
                                                         COURTROOM: First Street Courthouse
   26                                                             350 West 1st Street
                                                                  Courtroom 6A
   27                                                             Los Angeles, CA 90012
   28
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    1         WHEREAS, a jury trial commenced in this action on June 5, 2024;
    2         WHEREAS, during the NFL Defendants’ case in chief, the NFL Defendants
    3   played deposition videos for three witnesses containing the NFL Defendant’s
    4   affirmative deposition designations and Plaintiff’s counter designations in
    5   accordance with the Court’s rulings on the parties’ objections regarding those
    6   deposition designations;
    7         WHEREAS, the testimony offered in deposition videos is, as a general
    8   practice, not transcribed into the transcript of the trial proceedings;
    9         WHEREAS, the Court instructed the parties, to the extent they desire to
   10   include the testimony from deposition videos in the trial record, to confer and
   11   stipulate to supplement the record with the portions of the depositions that were
   12   played at trial; and
   13         WHEREAS, counsel for the NFL Defendants and Plaintiffs have conferred
   14   and agreed that the attachments to this stipulation reflect the deposition testimony
   15   played in court during the NFL Defendant’s case in chief;
   16         NOW THEREFORE, the NFL Defendants and Plaintiffs, by and through
   17   their respective counsel, hereby stipulate and agree, subject to the Court’s approval,
   18   to the following:
   19         1)     The documents attached hereto accurately reflect the deposition
   20   testimony for the following witnesses played in the trial of this matter during the
   21   NFL Defendants’ case in chief:
   22                a)        Attachment 1 – Michael White (Deposition 7/19/2022), played
   23                          in trial on June 18, 2024;
   24                b)        Attachment 2 – James Dyckes (as corporate representative for
   25                          DirecTV) (Deposition 10/27/2022), played in trial on June 18,
   26                          2024;
   27                c)        Attachment 3 – Robert Thun (Deposition 11/09/2022), played in
   28                          trial on June 18, 2024;
              2)     The trial record should be supplemented to reflect the testimony
                                                      2
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    1   played to the jury as outlined above.
    2

    3   Dated: June 20, 2024             By: /s/ Beth A. Wilkinson
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                                                              Plaintiffs’ Co-Lead Counsel
   10

   11   All signatories listed, and on whose behalf the filing is submitted, concur in the filing’s content
        and have authorized the filing.
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